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    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 20-0759V
                                         UNPUBLISHED


    MARY ANN HATLELID,                                         Chief Special Master Corcoran

                         Petitioner,
    v.                                                         Filed: January 26, 2022

    SECRETARY OF HEALTH AND                                    Special Processing Unit (SPU); Joint
    HUMAN SERVICES,                                            Stipulation on Damages; Influenza
                                                               (Flu); Shoulder Injury Related to
                        Respondent.                            Vaccine Administration (SIRVA).


Glen Howard Sturtevant, Jr., Rawls Law Group (Richmond), Richmond, VA, for
Petitioner.

Christine Mary Becer, U.S. Department of Justice, Washington, DC, for Respondent.

                               DECISION ON JOINT STIPULATION1

       On June 24, 2020, Mary Ann Hatlelid filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) within the Table time frame causally related to her receipt of the
influenza (“flu”) vaccine on September 9, 2018. Petition at 1.

        On January 25, 2022, the parties filed the attached joint stipulation, which states
that a decision should be entered awarding compensation. ECF No. 27. I find the
stipulation reasonable and adopt it as my decision awarding damages, on the terms set
forth therein.


1 Because this unpublished opinion contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the opinion will be available to anyone with access to the internet.
In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or
other information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon
review, I agree that the identified material fits within this definition, I will redact such material from public
access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

            •   A lump sum of $25,145.00 in the form of a check payable to Petitioner.
                This amount represents compensation for all items of damages that
                would be available under Section 15(a). Stipulation at ¶ 8.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the Clerk of the Court is directed
to enter judgment in accordance with this decision.3

        IT IS SO ORDERED.
                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                                                                No. 4644
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                                                               UNITED STATES COURT OF FEDERAL CLAIMS
                                                                  OFFICE OF SPECIAL MASTERS


      MARY ANNHA~ E'. ID,                                                                )
                            (                     )                                      )
                            ~                     :
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                     Peti~o '. r,
                                                                                         )   No. 20-759V
      v.                    I :
                            '                     ?                                      )   Chief Special Master Corcoran
      SECRETARYOF k { THANDHUMAN                                                         ~   ECF
      SERVICES,   ~ !                                                                    )
                     Res~ n; ent.                                                        ~
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                                                      '
                                                                                 STIPULATION

            The parties h~re                          i stipulate to the following matters:
            1. Mary Ann~~ lelid, petitioner, fi1ed a petition for vaccine compensation under the
                                 j,                   ;


     National Vaccine   Injib,I
                           f ;
                                ompensation Program, 42 U.S.C. § 300aa-10 to -34 (the ''Vaccine
                                 I'
                                 1,                   :'

     Program"). The petiqo 1seeks compensation for injuries allegedly related to petitioner's receipt
                           ' :

                                    t
                                                  ~
     of the influenza ("flut ) ccine, which vaccine is contained in the Vaccine Injury Table (the
                                                          ;

     "Table''), 42 C.F.R.   §I10/ .3(a).
                                     !                     t
            2. Petitioner $ c : ved the flu vaccination in her left arm on September 9, 2018.
                                     i                     '
                                     i                     1
            3. The vaccinr ~                                         administered within the United States.

            4. Petitioner       41e'. es that she suffered a Shoulder Injury Related to Vaccine
     Administration ("SIR!,·~ ') as a result of receiving the flu vaccine within the Table time frame,
                                        I                      '.
     and that she experiended l sidual effects of this injury for more than six months.

            5. Petitioner       i~       I
                                         t.
                                                                ,
                                                                '
                                                                    sents that there has been no priouward or settlement ofa civil action

     for damages on her bebar as a result of her condition.
                                         !                      i
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                          l
             6. Respon1t enies that petitioner sustained a SIRVA, as defined in the Table; denies
                              1
     that the vaccin.e cawted 1 eti.ti.oner's alleged shoulder injury, or any other injucy; and denies that
                          ~         I

                          f:        t
     her current conditioiiI is[ sequelae of a vaccine-related injury.
                          I         ;
                                    I
             7. Ma.inta.tn_Jig eir above-stated positions, the parties nevertheless now agree that the
                           It ;f
     issues between th~ s ; be settled and that a decision should be entered awarding the
                          f         :

     compensation descr$ \ in paragraph 8 of this Stipulation.
                          !         !

             8. As soon   8r p~ cticable after an entry ofjudgment reflecting a decision consistent with
                           f        '




     the terms of this   st;·
                           !        t
                                                on, and after petitioner has filed an election to receive compensation

     pursuant to 42 U.S.ct.i §:; 00aa-21(a)(l), the Secretary of Health and Human Services will issue a
                           1 (
                           i        ;
     lump sum of$25,14ro ; in the form of a check payable to petitioner. This amount represents
                       ! ;
     compensation for aui~ ages that would be available under 42 U.S.C. § 300aa~15(a).
                           '
                           f        ;>
             9. As soon • p; cticable after the entry of judgment on entitlement in this case, and after
                           ~            ~

     petitioner has filed~~ a proper and timely election to receive compensation pursuant to 42
                           l        :
     U.S.C. § 300aa-21(af(l; and an application, the parties will submit to further proceedings before
                           I        .
     the special master to~a~ d reasonable attorneys, fees and costs incurred in proceeding upon this
                          i i
                          ~ ~
     petition.            t

                           I            l
             10. Petitioner '. d her attorney represent that compensation to be provided pursuant to
                               ~        ~

                           i :
     this Stipulation is no! f1 ~ any items or services for which the Program is not primarily liable

     under 42 U.S.C. § 3qo~ -1 S(g), to the extent that payment has been made or can reasonably be
                           !
     expected to be made~m:' er any State compensation programs, insurance policies, Federal or
                               rt~ :~
     State health benefits~~   ,.       1
                                                    s (other than Title XIX of the Social Security Act (42 U.S.C.
                               ~        :
                               I        i
     § 1396 et seq.)), orb~ e\ tities that provide health services on a pre-paid basis.
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             11. Paymeni m, de pursuant to paragraph 8 of this Stipulation, and any amounts awarded
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                             1:                    '.

     pursuant to paragrait ~ of this Stipulation, will be made in accordance with 42 U.S.C. § 300aa-

     15(i), subject to the
                       t :
                             1~                             ability of sufficient statutory funds.

             12. The p~es ; nd their attorneys further agree and stipulate that, except for any award
                             11                     l

     for attorneys' fees add 1: ·gation costs, and past unreimbursable expenses, the money provided
                             i                      1
     pursuant to this Stip~la~ n will be used solely for the benefit of petitioner, as contemplated by a

     strict construction   orr   l                      ;
                                          2\ .S.C. § 300aa-15(a) and (d), and subject to the conditions of 42 U.S.C.

     §§ 300aa-15(g) and      4).;
                                 I l
             13. In return for\ e payments described in paragraphs 8 and 9, petitioner, in her
                                 ! :
     ind1vidual capacity Jd ~ n behalf of her heirs, executors, administrators, successors or assigns,
                                                        '
                          •
     does forever irrevocably;                                          nd unconditionally release, acquit and discharge the United States and
                                  I ;
     the Secretary of Heal~ ; d Human Services from any and all actions, causes of action (including
                                     (                      j
                                                            1
     agreements, judgments, laims, damages, loss of services, expenses and all demands of whatever

     kind or nature) that    ~v~ een brought, could have been brought, or could be timely brought in
                                     !                      :
     the Court of Federal <ha~ , under the National Vaccine Injury Compensation Program, 42
                                                            t
                                     I
     U.S.C. § 300aa 10 et            seq; on account of, or in any way growing out of, any and all known or
                                     ;J                     .

     unknown, suspected <t" ~ uspected personal injuries to or death of petitioner resulting from, or
                                     !                      ;
     alleged to have result~d \ om, the flu vaccine administered on or about September 9, 2018, as
                                     I'                         '
                                     1                          l
     alleged by petitioner ih al etition for vaccine compensation filed on June 24, 2020, in the United
                            I i
                                         f                      '
     States Court ofFeder~l Qaims as petition No. 20-759V.

             14. If petitionk '. ould die prior to entry of judgment, this agreement shall be vojdable
                                         ~                          ;
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     upon. proper notice to              ihel ourt on behalf of either or both of the parties.
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             15. If the spfci ; master tails to issue a decision in complete conformity with the terms
                            (               ,
                            f.              t
     of this Stipulation o~if
                          t
                              t! e Court of Federal Claims fails to enter judgment in conformity with a
                            f               •


     decision that is in co~J ete conformity with the terms of this Stipulation, then the parties'
                            !               ;
     settlement and this   SfP;
                            I·              '
                                                         tion shall be voidable at the sole discretion of either party.
                            i \
             16. This Sti~ '. ion expresses a full and complete negotiated settlement ofliability and
                            r               i
     damages claimed un~er: e National Childhood Vaccine Injury Act of 1986, as amended, except
                             r,                 ;
                             i              ;
     as otherwise noted i~ p \                            aph 9 above. There is absolutely no agreement on the part of the
                             I                  ;
     parties hereto to   m4 ~ y payment or
                             II                 •'
                                                                      to do any act or thing other than is herein expressly stated

     and clearly agreed tot                     i e parties further agree and understand
                                                ~                                .
                                                                                         that the award described in this

     stipulation may reflebt
                          I
                             ',. compromise of the parties' respective positions as to liability and/or
                                ! ;
     amount of damages,      F further, that a change in the nature of the injury or condition or in the
                                                I



                                 it              t
     items of compensatif ~ ught, is not gr:ounds to modify or revise this agreement.
                                  i                 '
             17. This Stipµlai ·on shall not be construed as an admission by the United States or the
                                  '                 .
                                  n                 :
                                  1                 ;
     Secretary of Health ahd \ uman Services that the flu vaccine caused petitioner to suffer a
                                  i                  i
     shoulder injury or hef c~ nt disabilities, or any other injury or condition, or that petitioner
                                  l                  r
     sustained an injury ,n, · ed in the Vaccine Injury Table.

             18. All right1               an;            obligations of petitioner hereunder shall apply equally to petitioner's
                                  i                  !
     heirs, executors, admini~ tors, successors, and/or assigns.
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                                      !                           END OF STIPULATION
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     PETITIONER:




                                                     AUTHORIZED REPRSENTATIVE
                                                     OF THE ATTORNEY GENERAL:




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     RAWLS LAW GROWp;
                                                     ~~~£~
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                                                     CHRISTINE M. BECER
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